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                                                                     FILED: February 2, 2024


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


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                                             No. 21-2017 (L)
                                          (1:16-cv-03311-ELH)
                                         ___________________

        MARYLAND SHALL ISSUE, INC., for itself and its members; ATLANTIC
        GUNS, INC.; DEBORAH KAY MILLER; SUSAN BRANCATO VIZAS

                       Plaintiffs - Appellants

         and

        ANA SLIVEIRA; CHRISTINE BUNCH

                       Plaintiffs

        v.

        WES MOORE, in his capacity as Governor of Maryland; WOODROW W.
        JONES, III, Colonel

                       Defendants - Appellees

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        FIREARMS POLICY COALITION, INC.; FPC ACTION FOUNDATION;
        INDEPENDENCE INSTITUTE

                       Amici Supporting Appellant
USCA4 Appeal: 21-2017     Doc: 83       Filed: 02/02/2024      Pg: 2 of 2




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                                           No. 21-2053
                                      (1:16-cv-03311-ELH)
                                     ___________________

        MARYLAND SHALL ISSUE, INC.; ATLANTIC GUNS, INC.; DEBORAH
        KAY MILLER; SUSAN BRANCATO VIZAS

                     Plaintiffs - Appellees

         and

        ANA SLIVEIRA; CHRISTINE BUNCH

                     Plaintiffs

        v.

        WES MOORE, in his capacity as Governor of Maryland; WOODROW W.
        JONES, III, Colonel

                     Defendants - Appellants

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                                          ORDER
                                     ___________________

               This case is calendared for oral argument on March 21, 2024.

               The parties may submit simultaneous supplemental briefs of no more than

        5,000 words by March 1, 2024.

                                               For the Court

                                               /s/ Nwamaka Anowi, Clerk
